tO

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 1 of 47

EXHIBIT B

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

DREW J. RIBAR,

Plaintiff,

STATE OF NEVADA ex rel. NEVADA DEPARTMENT OF CORRECTIONS, et al.,

Defendants.

Case No.: 3:24-cv-00103-ART-CLB

EXHIBIT B: BODY CAMERA AUDIO RECORDING AND TRANSCRIPT OF DEPUTY

SEAN PALAMAR, AUGUST 30, 2022

Summary Judgment Relevance

This exhibit provides undisputed material evidence under Fed. R. Civ. P. 56(a), demonstrating
that no genuine issue of material fact exists regarding Defendants’ violations of Plaintiff's rights

under:

e U.S. Constitution: Amendments I, 1V, VII, XIV
e Nevada Constitution: Article 1, §§ 1, 6, 8, 9, 18

© 42 U.S.C. § 1983 (civil rights violations)

PLEADING TITLE - 1

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

e 18 U.S.C. §§ 241-242 (conspiracy and deprivation of rights)

e Nevada Revised Statutes (NRS):

Oo

NRS 171.1233 (Recording interference)
NRS 197.200 (Oppression)

NRS 199.310 (Malicious prosecution)
NRS 200.460 (False imprisonment)
NRS 200.310 (Kidnapping)

NRS 200.481 (Battery)

NRS 200.471 (Assault)

NRS 207.190 (Coercion)

NRS 205.2715 (Unlawful taking)

NRS 205.220 (Grand larceny)

This evidence proves:

|. Retaliatory interference with Plaintiff's lawful recording.

2. Unlawful arrest and seizure without probable causc.

3. Cruel conditions post-arrest violating the Eighth Amendment.

4. Due process violations through falsified charges.

5. Coordinated misconduct and oppression under Monell liability.

6. Municipal liability under Monell v. Dep't of Soc. Servs., 436 U.S. 658 (1978).

These violations contradict clearly established law (Fordyce v. Seattle, 55 F.3d 436 (9th Cir.

1995); Irizarry v. Yehia, 38 F 4th 1282 (10th Cir. 2022)), negating any claim of qualified

immunity and entitling Plaintiff to judgment as a matter of law.
PLEADING TITLE - 2

Page 2 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 3 of 47

| || Exhibit Description
2
3 || This exhibit comprises:
4
< 1. A digital audio recording in .MOV format from Deputy Sean Palamar’s body camera,
6 obtained through discovery, recorded on August 30, 2022, at Northern Nevada
7 Correctional Center (NNCC), Carson City, Nevada, lasting 19 minutes and 15
8 seconds, capturing Defendants’ actions during Plaintiff's arrest.
9
2. A 35-page PDF transcript of the audio, generated using DaVinci Resolve software,
10
i with timestamps aligned to the recorded events.
12
Both the MOV file and PDF transcript are submitted manually on a USB drive to the court
13
14 clerk, in compliance with Local Rule IC 2-2, with an accompanying Notice of Manual Filing.
15
16
17
Key Legal Violations and Supporting Evidence
18
y Time Incident Summary (Transcript
0 Legal Relevance
Stamp Lines)
21
ass First Amendment retaliation (Fordyce v.
~ Officer states Plaintiff was
23 || 01:00:29 - Seattle, Glik v. Cunniffe, Irizarry v. Yehia);
“recording doing that First
24 |! 01:00:41 NRS 171.1233 (interference with recording);
95 Amendment right shit” (Lines 2-5).
~ Monell policy of suppressing recordings.
26
27
28
PLEADING TITLE - 3

to

Case 3:24-cv-00103-ART-CLB

Document 43-3 Filed 03/28/25 Page 4 of 47

Time Incident Summary (Transcript
Legal Relevance
Stamp Lines)
Smith escalates: “I’ve identified Conspiracy (Ashcroft v. Iqbal, 556 U.S. 662
01:01:06 - deputies they’re gonna come” (Line (2009)); NRS 197.200 (oppression); NRS
01:02:14 25); Frazier orders arrest (01:04:07, 207.190 (coercion); Monell policy of
Line 92), retaliation.
Fourth Amendment violation (Hiibel v.
Smith admits “no trespassing signs
01:01:28 - Sixth Judicial Dist. Ct., Devenpeck v. Alford);
up” and “this is a public roadway”
01:01:46 NRS 200.460 (false imprisonment); NRS
(Lines 37-46).
199.310 (malicious prosecution).
Palamar shuts off camera despite First Amendment retaliation (NRS
01:05:42 - plea “Please leave my cameras 171.1233); Eighth Amendment violation
01:06:32 running” (Lines 142-146), plans (95°F heat, Exhibit A, Lines 554-556, Line
truck tow (Line 165). 403); Monell custom of device seizure.
Deputies add “obstructing” (Line
Due process violation (/qbal, Irizarry); NRS
01:12:42 - 239) and “failure to identify” (Line
199.310 (malicious prosecution); falsification
01:18:33 417); Smith admits “I did not ask
supports Monell liability.
him for his name” (Line 425).
Authentication

PLEADING TITLE - 4

to

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 5 of 47

Pursuant to Fed. R. Evid. 901 and 1002, and under 28 U.S.C. § 1746, I, Drew J. Ribar, declare

under penalty of perjury under the laws of the United States that:

e The .MOV audio recording, obtained through discovery from Deputy Sean Palamar’s
body camera, is a true and accurate depiction of events on August 30, 2022, at NNCC.
¢ The 35-page PDF transcript, generated using DaVinci Resolve, accurately reflects the

audio recording.

Both are submitted manually on a USB drive to the court clerk, in compliance with Local

Rule IC 2-2, with an accompanying Notice of Manual Filing.

DATED: March 28, 2025

/s/ Drew J. Ribar

Drew J. Ribar, Pro Se
3480 Pershing Ln.

Washoe Valley, NV 89704
775-223-7899

Const2Audit@gmail.com

PLEADING TITLE - 5

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 6 of 47

WEBVTT
01:00:29,291 --> 01:00:32.333
<b>[BLANK AUDIO] </b>

Nh

01:00:35.291 --> 01:00:38.541
<b>My perimeter officers let me know this</b>

3
01:00:38.541 --> 01:00:39.833
<b>guy pulled over here and</b>

4
01:00:39.833 --> 01:00:41.041
<b>started recording doing that first</b>

Gq

01:00:41.041 --> 01:00:41.666
<b>amendment right shit.</b>

6

01:00:43.291 --> 01:00:43.750
<b>Good.</b>

7

01:00:45.500 --> 01:00:46.166
<b>Where's he at now?</b>

8
01:00:46.333 --> 01:00:46.916
<b>He's still in charge.</b>

9
01:00:47.583 --> 01:00:48,625
<b> [INAUDIBLE] </b>

10
01:00:51.291 --> 01:00:52.000
<b>Will do sir.</b>

11
01:00:54.291 --> 01:00:55.625
<b>That was my award and if you guys create</b>

01:00:55.625 --> 01:00:56.291
<b>a case number I need to come.</b>

13
01:00:56.291 --> 01:00:57.416
<b> [ INAUDIBLE] </b>

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

14
01:00:57.416 --> 01:01:02.041
<b>He's on foot.</b>

15
01:01:02.041 --> 01:01:03.000
<b>He parked his truck here.</b>

16
01:01:03.000 --> 01:01:05.125
<b>There's no parking signs right here.</b>

diz
01:01:06.041 --> 01:01:06.958
<b>Did you guys contact him at all?</b>

18
01:01:06.958 --> 01:01:07.291
<b>I did.</b>

19
01:01:07.291 --> 01:01:08.041
<b>I tried talking to him.</b>

20
01:01:08.041 --> 01:01:09.041
<b>I was like we're not gonna let you on the</b>

21
01:01:09.041 --> 01:01:09.750

<b>state property so</b>

22
01:01:09.750 --> 01:01:10.666
<b>you're gonna impede my right.</b>

23
01:01:10.666 --> 01:01:12.250
<b>I was like I've just let you know I've</b>

24
01:01:12.250 --> 01:01:12.875
<b>identified deputies</b>

25
01:01:12.875 --> 01:01:13.666
<b>they're gonna come here.</b>

26
01:01:13.916 --> 01:01:14.833
<b>What did he say is did</b>

27
01:01:14.833 --> 01:01:15.708

Page 7 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

<b>ne give a reason at all?</b>

28
01:01:15.916 --> 01:01:16.750
<b>He just excited in his</b>

29
O1:01:16.750 --> 01:01:17.500
<b>first amendment rights.</b>

30
OLIOLIL7 833 --s O140L118..541
<b>Just okay.</b>

31
01:01:19,291 --> 01:01:20.791
<b>I had to walk down my whole yard.</b>

32
O1301:320.791 -—-S 01401221.916
<b>My camps locked down.</b>

33
Ol¢O1: 21.916 ==> 01701723.458
<b>We had to go in the community and pull</b>

34
01501:23.458 =-> 01:01:24.250
<b>the inmates off the community</b>

35
01:01:24.250 --> 01:01:25.291
<b>in cases in the tent to escape.</b>

36
01:01:325.291 ==> 01:01:27.916
<b>So it's a big fiasco for us.</b>

37
01:01:28.166 --> 01:01:30.291
<b>We don't have any no trespassing signs up</b>

38
O1;01230.291 --> 01:01:31.583
<b>obviously because we got--</b>

39
01:01:31.875 -=-> 01:01:33.750
<b>As far as the prison property goes I mean</b>

40
01201¢33.750 ==> ©1501235.250
<b>you guys have discretion to have people</b>

Page 8 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

41
01:01:35.250 --> 01:01:36.333
<b>leave when it comes to--</b>

42
01:01:36,708 -—-> 01301236.875
<b>100%.</b>

43
01:01:37.333 --> 01:01:37.583
<b>Yeah.</b>

1:01:38.125 --> 01:01:40.875
So he said this is a public roadway which</b>

4
01:01:40.875 --> 01:01:42.333
<b>in fact it is a public roadway because we</b>

O1L201#42,.333 -=> 01101943:.625
<b>got visitors coming and going obviously.</b>

47
01:01:44.000 --> 01:01:44.250
<b>Yes.</b>

48
01:01:44.250 --> 01:01:45.750
<b>But when it comes down to it like I asked</b>

-750 --> 01:01:46.958
s like are you here for a visit?</b>

50
01:01:46.958 --> 01:01:48.708
<b>He said I don't know the process I said</b>

Sil.
01:01:48.708 --> 01:01:49.500
<b>you need a visiting form.</b>

Biz.
O12: 01¢49.500 —--p O1201750.583
<b>You can get those from an offender can</b>

DS
01:301:°50.583 --> 01:01'52.166
<b>send them to you or you can get them from</b>

54

Page 9 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 10 of 47

<b>our main building over here at 5500.</b>

Ee
IO

01:01:54.541 --> 01:01:55.916
<b>And he said well I need to go</b>

516
01:01:55.916 --> 01:01:56.750
<b>down there and figure it out.</b>

ol

01:01:56.750 --> 01:01:57.333
<b>I said you were not</b>

58

01:01:57.333 --> 01:01:58.041
<b>allowed in any buildings?</b>

59
01:01:58.416 --> 01:01:59,250
<b>He said you're going to impede my way?</b>

60
01:01:59.250 --> 01:02:00.416
<b>I said no I'm not.</b>

6]

01:02:01.333 --> 01:02:02.791

<b>But I'm also I also don't know where--</b>
62

01:02:03.875 --> 01:02:04.250

<b>Because this is the first</b>

63
01:02:04.250 --> 01:02:05.250
<b>time we've encountered it.</b>

64

01:92:05.250 --> 01:02:06.208
<b>So I don't know where</b>
65

01:02:06.208 --> 01:02:07.541
<b>what our options are.</b>

66
01:02:07.541 --> 01:02:08.125
<b>We want gone.</b>

67
01:02:09.250 --> 01:02:10.666
<b>Well it's a prison I</b>

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

68
O1202210.666 ==> O1s02212.791
<b>mean if you're not here--</b>

69
01:02:12.791 --> 01:02:13.333
<b>You guys can trespass</b>

40
01702:13.333 --> 01:02:14.250
<b>them from the property.</b>

71
01:02:14,541 --> 01:02:14.750

<b>Easily.</b>

V2
01:02:14.750 --> 01:02:16.833
<b>No we I mean me I'm the</b>

73
01:02:16.833 --> 01:02:17.708
<b>shift sergeant right now.</b>

74
01:02:17.958 --> 01:02:18.666
<b>100% one of them also.</b>

75
01:02:18.666 --> 01:02:19.958
13

<b>T'm going to be live in 13 school.</b>

76
01:02:19.958 --> 01:02:21.291
<b>I'm going to pass back to you.</b>

7
/

01:02:22,291 --> 01:02:24.333
<b>Good morning videos of license</b>

78
O17025 24.333 =—-S 012025 26.125
<b>plates and vehicle mounts up.</b>

79
01702926.125 --> 012702%26.333
<b>Okay.</b>

80
01:02:36.291 --> 01:02:37.458
<b>That's nice.</b>

81
01:02:39.291 --> 01:02:41.708

Page 11 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 12 of 47

<b>5-0-1.</b>

82
01:02:43.583 --> 01:02:44,791
<b>Sounds like the subject's trying to do</b>

83
01:02:44,791 --> 01:02:46.041
<b>some sort of first thing.</b>

84
01:02:46.333 --> 01:02:48,166
<b>Maybe just have a similar idea.</pb>

85
01:02:48.916 --> 01:02:50,375
<b>But we'll try to make contact with him.</b>

86
01:02:50.375 --> 01:02:52.083
<b>He's a prison partner and</b>

87
01:02:52.083 --> 01:02:54,416
<b>then record pictures of him. </b>

88
01:03:02.291 --> 01:03:04,291
<b>10-4-break 34.95.</b>

89
01:03:16.291 --> 01:03:19.291
<b>34.95.</b>

90
01:03:46,291 --> 01:03:47.125
<p>Thank you very much.</b>

Ot
01:03:49.166 --> 01:03:58,583
<b>Sir what is your name?</b>

92
01:04:05.916 --> 01:04:07.333
<b>The facility is on lockdown.</b>

93

01:04:07.333 --> 01:04:08.041
<b>Yes it is.</b>

94
01:04:08.041 --> 01:04:09,125
<b>This is a company operation.</b>

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 13 of 47

95
01:04:09.125 --> 01:04:10.166
<b>This is a disruptive operation.</b>

204:10.541 --> 01:04:11.416
<b>Sir what is your name?</b>

97
01:04:12.708 --> 01:04:13.250
<b>Put that down.</b>

98
01:04:13.416 --> 01:04:14.166
<b>Put your hands behind your back.</b>

99
01:04:14.500 --> 01:04:14.708
<b>Okay.</b>

100
01:04:15.625 --> 01:04:17.666
<b>I'm not going to risk</b>

101
01:04:17.666 --> 01:04:21.833
<b>this to you guys at all.</b>

102
01:04:21.833 --> 01:04:26.000
<b>No you may not.</b>

103
01:04:26.000 --> 01:04:27.125
<b>Right now you have the right to remain</b>

104
01:04:27.125 --> 01:04:28.416
<b>silent or anything you say you can to</b>

105
01:04:28.416 --> 01:04:29.458
<b>maybe use it again to an accord.</b>

106
01:04:29,750 --> 01:04:31.208
<b>10-0-1-97-200.</b>

107
01:04:31.416 --> 01:04:31.916
<b>Excuse me.</b>

108
01:04:32.125 --> 01:04:33.416

Case 3:24-cv-00103-ART-CLB

Document 43-3 Filed 03/28/25

<b>I didn't interrupt you did I?</b>

LO8
01:04:33.958
<b>Okay.</b>

110
01:04:34.083

<b>If you don't want

11]
01:04:34.916

<b>then we're not going to talk

112
01:04:36.333
<b>Wel |

113

Qls042 39.125

an RS

--> 01:04:34.083

--> 01:04:34.916
to hear your rights</b>

--> 01:04:36.083
about it.</b>

01:04:38.125
197-200 so</b>

=

see 01204939 .083

<b>you're not going to run back.</b>

114
01:04:39.083
<b>Okay.</b>

115
01:04:39.875

01:04:39.416

-->

-->

01:04:40.875

<b>I'm not going to ask you any questions.</b>

116
01:04:41.166
<b>Step over

117
01:04:42.125
<b>Okay.</b>

118
01:04:49.208
<b>I'm going

04:58.458
<b>I'm going

ask

120
01:04:58.541

--> 01:04:41.791
to my vehicle.</b>

--> 01:04:42.291

==> 01:04:56.250
to ask you a question.</b>

--> 01:04:58.541
EO

you a question.</b>

-~-> 01:04:59.500

<b>Are you going to pay the fee for it?</b>

12
O1505201.. 750

==-> 01:05502.583

<b>The wallet and the purse</b>

Page 14 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 15 of 47

£22
01205202..5838 —-> 01805903. 291
<b>you. want to get in there.</b>

123
01:05:03.541 --> 01:05:03.875
<b>Thank you.</b>

124
01:05:03.875 --> 01:05:04.833
<b>We're going to get everything done.</b>

125
01:05:05.041 --> 01:05:06.166
<b>RBut the search is an actual arrest.</b>

126
01:05:08.916 --> 01:05:10.166
<b>And what am I doing to arrest you for?</b>

127
01:05:10.458 --> 01:05:11.708
<b>You're being arrested for trespassing.</b>

128
OLSO05212.083 --> 01205912.583
<b>Okay. </b>

129
01:05:12.583 --> 01:05:13.833
<b>So where was the North</b>

130
01:05:13.833 --> 01:05:14.291
<b>Crest Pass on the side?</b>

Le

01:05:14,291 --> 01:05:14.500

<b>The North Crest Pass on the side. Okay. Okay. Okay. Okay. Okay. Okay.
Okay. Okay. Okay. Okay. Okay. Okay. Okay. Okay. Okay. Okay. Okay. It's
time.</b>

132
01:05:15.250 --> 01:05:15.458
<b>Okay.</b>

133
01:05:15.458 --> 01:05:15.791
<b>Go ahead.</b>

134
O1:;052172.583 —-> 01705119.333
<b>Were there no trespassers time course?</b>

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

135
01:05:20.416 --> 01:05:21.750
<b>Explain everything to you about, right</b>

136
Ols05¢21..750 --> 01:05:22,916
<b>now you're not under Miranda</b>

137
O1205522.916 --> 01205423. 958
<b>so I'm not going to use the</b>

138
O1305823..958 --> O1205h24.166
<b>phone.</b>

139
01:05:24.458 --> 01:05:24.666
<b>Look.</b>

140
O1305328,..041, ==> 01:05231.500
<b>(unintelligible) Hold on there.</b>

141
01:05:32.666 --> 01:05:35.875
<b> (unintelligible) </b>

142
01:05226.291 -—-> 01:05:42.125
<b>You want to shut that off if you want.</b>

143
01:05:42.125 --> 01:05:44.375
<b>Please leave my cameras running.</b>

144
01:05:44,791 -<=> 01:05:51.916
<b>Please leave my cameras running.</b>

145
OLi0S:iS1.916 —--S 01:05762.125
<b>Please leave my cameras running.</b>

146
OLP05' 52.291 = 01:05 155 .916
<b>I'm not going to do that.</b>

147
O1505:'56.791 ——> 01405:58 .083
<b>And, don't be designed</b>

148

Page 16 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 17 of 47

01:05:58.083 --> 01:05:59.708
<b>versus making the phone call.</b>

149
01:06:01.041 --> 01:06:04.583
<b>Negative. Sorry, I didn't realize you</b>

150
01:06:04,583 --> 01:06:05,458
<b>were mounting a B2B.</b>

15]
01:06:05.458 --> 01:06:06.083
<b>What do you mean?</b>

152
01:06:07.125 --> 01:06:08.750
<b>We are just a man of any</b>

153
01:06:08.750 --> 01:06:09.541
<b>type of any type of problem.</b>

154
01:06:11.125 --> 01:06:12.125
<b>Yeah, this is not like a</b>

155
01:06:12.125 --> 01:06:14.166
<b>DMV downtown or something.</b>

156
01:06:14.375 --> 01 15.25
<b>No, this is a post office,</b>

ny

Ld

01:06:15.458 --> 01:06:16.291
<b>this is a sheriff's office.</b>

158
01:06:16.291 --> 01:06:17.333
<b>This is a pure facility.</b>

159
01:06:17.583 --> 01:06:18.208
<b>There's no freedom of</b>

160
01:06:18.208 --> 01:06:20.000
<b>information to ask to get west here.</b>

161
01:06:20.708 --> 01:06:22,958
<b>We need some statements.</b>

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

162
O1706524.000 --> 01206726. 375
<b>That way we have someone from the state</b>

163
01:06:26.375 --> 01:06:27.875
<b>nere that's going to press.</

oO

164
01:06229.250 =--> 01706231.250
<b>And then we're going to have</b>

165
QIls06231.250 —-> 01206432. 375
<b>to probably tow his truck too.</b>

166
01:06:33.291 --> 01:06:34.291
<b>So he's in custody now.</b>

167
01:06:34.541 --> 01:06:35.375
<b>Yeah, tow his truck.</b>

168
Q1LeO06s36.125 =—-> 01206237. 916
<b>And you sail and see him to get the</b>

169
01:06:37.916 --> 01:06:39.125
<b>statements and the tilt.</b>

170
01:06:39.166 --> 01:06:40.000
<b>And I'll work on that.</b>

171
01:06:40.000 --> 01:06:40.541
<b>That's yours only.</b>

Lye
01:06:40.750 --> 01:06:41.041
<b>I do not.</b>

173
01:06:41.041 --> 0
<b>So my partner ij

1:06:41.833
s going</b>

174
01:06:41.833 --> 01:06:43.000
<b>to get the statements.</b>

175

Page 18 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 19 of 47

01:06:44.083 --> 01:06:45.916
<b>Is there any other specific NRS that's</b>

176
01:06:45,916 --> 01:06:47.500
<b>applicable as far as it comes to</b>

177
01:06:48,125 -=> 01:06:49.125
<b>trespassing on the</b>

178
01:06:49.125 --> 01:06:50.708
<b>prison or something like that?</b>

179
01:06:51.083 --> 01:06:52.041
<b>You guys have a card on you?</b>

180
01:06:52.625 --> 01:06:53.041
<b>What's that?</b>

181
01:06:53.041 --> 01:06:53.958
<b>Do you have a card on you?</b>

182
01:06:53.958 --> 01:06:54.166
<b>Yeah.</b>

183
01:06:54.458 --> 01:06:55.083
<b>I'll pull it up and</b>

184
Ols06255.083 -—> 01906256 .375
<b>email it right to you.</b>

185
01:06:56.375 --> 01:06:56.875
<b>Yeah, all that.</b>

186
01:06:57.166 --> 01:06:57.375
<b>Thanks.</b>

187

O1:06258.125 --> O1706759.541
<b>Because again, every individual that</b>

188

UlLP062 59.541 ==> 01207200. 375

<b>comes on to this property,</b>

Case 3:24-cv-0

189
01:07:00.583
<b>they have

190
01:07:01.416
<b>come on to

191
O12072 02. Loo
<b>Okay.</b>

192
O01207202.666
<b>And where
193
01:07:03.791
<b>Is it the

194
01207205.125
<b>Actually,

195
01:07:06.708
<b>through th

196
01:07:08.166
<b>Which woul

197
01:07:10.291
<b>individual

198
O21: 07:11 2875
<b>who's comi

199
OL207 213,041
<b>Okay.</b>
200

01:07:13.166
<b>That's

201
01:07:14.541
<b>just go ou

202

0103-ART-CLB Document 43-3 Filed 03/28/25

--> 01:07:01.416
to be clear to</b>

--> 01:07:02.166
the property.</b>

==

01:07:02.416

—-S 01°07203.791

are they supposed to check in?</b>

NS
-->

01:07:04.458
gate house?</b>

--> 01:07:06.708
we received notice</b>

--> 01:07:07.500
e administration.</b>

==> O1207510.291
d turn the gate house and the</b>

--> 01:07:11.375
would be notified</b>

> OL:07112.5421
ng onto the property.</b>

--> 01:07:13.166

--> 01:07:14.541

why you just can't show up and</b>

—-> O21:07415.708
t and definitely not take</b>

Page 20 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

01:07:15.708 --> 01:07:16.833
<b>photos of them.</b>

203
01:07:16.833 --> 01:07:17.166
<b>Okay.</b>

204

01:07:18.041 --> 01:07:21.250

<b>So who all had contact with him?</b>
205

01:07:21.250 --> 01:07:22.666
<b>I'm here as a warden.</b>

206
01:07:22.958 --> 01:07:23.916
<b>I'm the warden, so I</b>

207
O01: 073 23.916 ——=> 01:07:25-.208
<b>believe that's why I came down.</b>

208
01:07:25 «208 =-—> 01:07:27,500
<b>I'll probably, I think the warden would</b>

209
01:07:27.500 --> 01:07:29.375
<b>obviously carry some weight as far as</b>

210
O1207¢29,.375 =—> 01207: 30.458
<b>you make contact with him.</b>

211
01:07:30.458 --> 01:07:30.666
<b>Yeah.</b>

212
01:07330.791 ==> 01:07:31:833
<b>I mean, I'm just saying that you guys</b>

213

01:507:31..833 --> 01:07232.916

<b>don't carry weight as well as you're</b>
214

UL20¢832.916 ==> O11 707 733.. 500
<b>a Florida property.</b>

ZS

012072 33.708 01:07:35.458

-->
<b>But if we have, you guys do a statement.</b>

Page 21 of 47

Case 3:24-cv-00103-ART-CLB

216

01:07:35.833 --> 01:07:36.
<b>I am.</b>

217

01:07:36.125 --> 01:07:39.
<b>And then we'll get the,

218
01:07:239.125 01:07:40.
<b>and then I'll book him.

=>

219

01:07:40.708 --> 01:07:41.

Document 43-3 Filed 03/28/25

125
the door going</b>

333
</b>

£911

<b>Did he give you his name?</b>

220
01:07:42.291 --> 01:07:43.
<b>We have it off of his,

22.1

01:07:43.958 01207245.

-->

958
we have a wallet</b>

166

<b>there and then we have a registration</b>
222

01:07:45.166 --> 01:07:45.791
<b>off of that.</b>

22-8

01:07:45,958 --> 01:07:46.791
<b>Oh, that's beautiful.</b>
224

01:07:46.791 --> 01:07:47.500
<b>Can I get that?</b>

225

01:07:47.500 --> 01:07:48.083
<b>Yeah, for sure.</b>

226

01:07:48.083 --> 01:07:48.625
<b>I'll be notified.</b>

227

01:07:49.041 --> 01:07:49.791
<b>Do you have a second?</b>
228

01:07:50.125 --> 01:07:50.916
<b>So do you have that other</b>

Page 22 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 23 of 47

01:07:50.916 --> 01:07:52.000
<b>charge you're talking about?</b>

230
01:07:52.000 --> 01:07:52.666
<b>Because I'm going to, I'm</b>

nA
O1:07552.666 --> 01:07:53,833
<b>going to take them in now.</b>

Zoe
V1 SOV E55. 790 —-> 02,208 #03125
<b>Is there one more card for you?</b>

233
01:08:03.125 --> 01:08:03.750
<b>Yeah.</b>

234
O1:12:39.875 --> 01:12:41,000
<b>Okay.</b>

225
01:12:41.833 --> 01:12:42.041
<b>Cool.</b>

236
01:12:42.541 --> 01:12:42.791
<b>Cool.</b>

237
01:12:42,791 --> 01:12:42,875
<b>Cool.</b>

238
01:12:42.875 --> 01:12:44.041
<b>We will do a trespassing.</b>

239
01:12:44,666 --> 01:12:46.458
<b>Obstructing for you guys.</b>

240
01:12:47.000 --> 01:12:47.208
<b>Right.</b>

241
Obie: 47a208 == 011512248 .375
<b>We would probably need to leave you.</b>

242
01:12:48.375 --> 01:12:48.625
<b>Thank you.</b>

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 24 of 47

243
01:12:49,750 --> 01:12:51.375
<b>You know, obviously he's instructed, he's</b>

244
O1l812951.375 ==> O1212352.297
<b>obstructing you guys.</b>

245
01:12:52.291 --> 01:12:53.416
<b>You guys are a chief of these officers.</b>

246
01:12:53.750 --> 01:12:54.875
<b>So he's obstructing your</b>

247
01:12:54.875 --> 01:12:56.333
<b>ability to do your work.</b>

248
01:12:57.083 --> 01:12:59,875
<b>So, but if there's another specific kind</b>

249
01:12:59,875 --> 01:13:01.625
<b>of risk, then I need to add that.</b>

250

01:13:02.125 --> 01:13:02.500

<b>So I'm going to take her down to that. Okay. Okay. So, I'm going to
take her down to that. Okay.

Okay. So, I'm going to take her down to that. Okay. Okay. Okay. Okay.
Okay. Okay. Okay. Okay. Okay. Okay.</b>

251
01:13:02.500 --> 01:13:03.458
<b>So, I'm going to take her down now.</b>

252
01:13:04.000 --> 01:13:04.208
<b>Okay.</b>

203
01:13:04.500 --> 01:13:06.250
<b>So, if you can just give that to him,</b>

254
01:13:06.250 --> 01:13:07.208
<b>then he can call me</b>

S

c

BD
01:13:07.208 --> 01:13:08.416

Case 3:24-cv-00103-ART-CLB Document 43-3

<b>because I'm going to go down</b>

256
01:13:08.416 --> 01:13:09.791
<b>and start the paperwork on it.</b>

25 1
01513209. 791 —-> 01913509.916
<b>Okay.</b>

258
01:13:09.916 --> 01:13:10.125
<b>Cool.</b>

259
01:13:10.291 --> 01:13:11.416
<b>But yeah, I mean, this</b>

260
01:13:11.416 --> 01:13:13.041
<b>is, he wants to do an audit.</b>

261
01:13:13.250 --> 01:13:14.708
<b>I don't know what the intentions are.</b>

262
01:13:14.708 --> 01:13:16.125
<b>Obviously, it's probably clear.</b>

263
01:13:16.500 --> 01:13:17.250
<b>However, this is</b>

264
Olsi3¢17,.250 -—-> 01713918 .625
<b>extremely controlled environment.</b>

265
01:13:18.625 --> 01:13:19.291
<b>I mean, we check in</b>

266
01:13:19.291 --> 01:13:20.750
<b>here before we come in.</b>

2607

01:13:20.750 --> 01:13:20.916
<b>Yeah.</b>

268
01:13:20.916 --> 01:13:21.708
<b>So, I don't know what.</b>

Filed 03/28/25

Page 25 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 26 of 47

269
01:13:22.125 --> 01:13:22.958
<b>If I had to authorize, </b>

270
01:13:23.291 --> 01:13:24.750
<b>we get clear to do a lot.</b>

27
01:13:24.958 --> 01:13:25.166
<b>Right.</b>

272
OL:13925.8383 ——> 01:13:26.794
<b>We don't have any paperwork</b>

273
01:13:26,791 --> 01:13:27.958
<b>to see if you can do an audit.</b>

01:13:28.250 --> 01:13:29.125
<b>So, you hear after violating.</b>

275

01:13:29,125 --> 01:13:31.958

<b>And have you received paperwork before as far as you can? Yes. And
have you received paperwork before as</b>

276
01:13:31.958 --> 01:13:33.416
<b>far as, T mean, just from other people?</b>

277
01:13:33.625 --> 01:13:33.750
<b>Yeah.</b>

278
01513333.750 ==> 01+13:35.291
<b>Iif they're going to come do an audit and</b>

279
01:13:35.291 --> 01:13:35,916
<b>that's the standard?</b>

280
01:13:36.166 --> 01:13:36.333
<b>Okay. </b>

281
01:13:36.458 --> 01:13:36.583
<b>Yeah.</b>

282

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

01913936. 583 --> 01713737. 916
<b>If you could put that in there just</b>

283
01:13:37.916 --> 01:13:38.833
<b>roughly, you don't have</b>

284
01:13:38.833 --> 01:13:40.

375
<b>to name names, but are you</b>

oD)

285
01:13:40.375 --> 01:13:42.625
<b>routinely get requests for an audit?</b>

286
01:13:43.083 --> 01:13:44.625
<b>There was no request that was forwarded.</b>

287
01:13:44.958 --> 01:13:46.750
<b>This was a surprise, obviously, major</b>

288
01:13:46,750 --> 01:13:47.541
<b>disruption of the</b>

289
01913947.541 ==> O1518948.583
<b>yard and everything else.</b>

290
01213248;,875 ==> 01¢13350.291
<b>So, can you get them written?</b>

29:1
01:13:50.666 --> 01:13:50.833
<b>Yepo.</b>

292
OL:13:61.041 <-> 01:13:52.333
<b>And then I'm going to get him going down</b>

293
01:13:52.333 --> 01:13:52.875
<b>there so we can gel</b>

294
01:13:52.875 --> 01:13:53.333
<b>everybody out of the set.</b>

295
017132538<.333 —-—> OLE1315S. 291
<b>And then on the tow, just because it's on</b>

Page 27 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 28 of 47

296
01:13:55.291 --> 01:13:56.250
<b>your guys' property and</b>

297
01:13:56.250 --> 01:13:57.125
<b>everything, our sergeant</b>

298
01:13:57.166 --> 01:13:58.833
<b>saying it's probably the plan here if you</b>

299
01:13:58.833 --> 01:14:00.541
<b>guys call for</b>

300
01:14:00.541 --> 01:14:02.625
<b>whatever process you normally</b>

301
01:14:02.625 --> 01:14:04.083
<b>go through to tow cars off your property.</b>

302
01:14:04.875 --> 01:14:05.083
<beSo6...</b>

303
01:14:05.458 --> 01:14:06.500
<b>They probably don't do that often.</b>

304
01:14:06.875 --> 01:14:07.000
<b>Yeah.</b>

305
01:14:07.000 --> 01:14:07.208
<b>Yeah.</b>

306
01:14:08.125 --> 01:14:09.000
<b>We don't have them to have.</b>

307
01:14:09.000 --> 01:14:10.333
<b>We don't know how to call one for that.</b>

308
01:14:10.333 --> 01:14:11.041
<b>We don't have them to have.</b>

309

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

01:14:11.041 --> 01:14:12.208
<b>We don't have them to tell at all.</b>

310
01:14:12.208 --> 01:14:12.833
<b>But normally we tell</b>

SL.
01:14:12.833 --> 01:14:14.000
<b>people, "Hey, you can't be here."</b>

Baz
O1214214.208 --> 01:14915.041
<b>They turn around and go, "Hey."</b>

S13
01:14:15.125 --> 01:14:16.458
<b>He's in our custody.</b>

)1:14:16.708 --> 01:14:17.583
<b>I would say that we tow</b>

315
01:14:17.583 --> 01:14:18.916
<b>it so that way it's safe.</b>

316
01:14:18.916 --> 01:14:19.000

<bp>Yes.</b>

317
01:14:19,000 --> 01:14:19.458
<b>I'm just repeating.</b>

318
OLh4:29.958 —-& O1:14:20.166
<b>Okay.</b>

319
01:14:21.083 --> 01:14:22.583
<b>We'll take care of the tow and then he's</b>

320
Ole 1A? 22.583 == O1s14:7 23.708
<b>going to get you some written statements</b>

a21
01:14:23.708 --> 01:14:25.000
<b>as detailed as possible.</b>

B22
01:14:25.000 --> 01:14:25.125
<b>And then I'll take him down.</b>

Page 29 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 30 of 47

323
01:14:25.125 --> 01:14:27.791
<b>That was 207.200.</b>

324
01:14:27,791 --> 01:14:31.958
<b>207.200.</b>

325
01:14:34.125 --> 01:14:35.666
<b>207.200.</b>

CW)

326

01:14:36.791 --> 01:14:41.208
<b>Is there any subsection at all?</b>

3eT
01:14:41.708 --> 01:14:41.916
<b>Yeah.</b>

328
01:14:42.166 --> 01:14:43.625
<b>Is there a subsection of that address?</b>

329
01:14:48.708 --> 01:14:48.916
<b>Yeah.</b>

330
01:14:49.000 --> 01:14:51.708
<b>The winter birds.</b>

331
O1214:52.166 —--—> O1214:52 875
<b>Huh?</b>

332
01714253.291 --> 01214: 54.416
<b>You're looking on my fire frame.</b>

333
01:14:55.500 --> 01:14:55.708
<b>The winter birds.</b>

334,
01:14:56.291 --> 01:14:57.166
<b>10-0-2-1.</b>

335
01:14:57.375 --> 01:14:58.625
<b>207.200.</b>

336

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 31 of 47

01:14:59.000 --> 01:15:01.083
<b>1-8-11.</b>

337
01:15:01.500 --> 01:15:02.166
<b>There's a land warrant.</b>

338
01:15:02.666 --> 01:15:03.833
<b>A building with other things.</b>

339
01:15:04.333 --> 01:15:04.833
<b>That's correct.</b>

340
01:15:05.416 --> 01:15:06.083
<b>And then there's a beam.</b>

341
01:15:06.416 --> 01:15:07.791
<b>Wolf would go to the pool and he'd come</b>

342
01:15:07,791 —=—> 02.515:09.250
<b>to the land for a building.</b>

343
01215509.500 --> O1?15 12.625
<b>That's just normal trespass road.</b>

344
01:15:13.666 --> 01:15:13.833
<b>Stop.</b>

345
01:15:14.041 --> 01:15:14.416

<b>It's a trespass.</b>

346
01#15:15.375 --=> 01215216.333
<b>It's a trespass.</b>

347
01215:16.625 --> 01:15:17.791
<b>It's normal trespass.</b>

348
01:15:18.000 --> 01:15:18.041
<b>It's normal trespass.</b>

349
01:15:18.125 --> 01:15:20.041
<b>If there's anything that's applicable to</b>

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

350
01:15:20.041 --> 01:15:22.416
<b>like prison property, you</b>

35.1
01:15:22.416 --> 01:15:23.166
<b>know that would be great</b>

352
01:15:23.166 --> 01:15:24.166
<b>to be able to put on there.</p>

353

01:15:24.166 --> 01:15:24.958
<b>T'1ll fight something.</b>
354

01:15:24,958 --> 01:15:26.500
<b>I mean I'll articulate it but it would be</b>

O1:15:26.500 --> 01:15:28.250
<b>good if there's a specific NRS.</b>

356
01:15:29,541 --> 01:15:31.791
<b>Like disrupt any of the prison</b>

387
01:15:31.791 --> 01:15:33.666
<b>duties or anything like that.</b>

358
01:15:34.125 --> 01:15:35.750
<b>You know other states have these because</b>

359
01:15:35.750 --> 01:15:36.291
<b>we haven't dealt with</b>

152936.291 <-“f O1r15e37_ 338
<b>this bullshit very much.</b>

01:15:37.750 --> 01:15:37.958
<b>Yeah.</b>

362

01:15:41.125 --> 01:15:42,416

<b>Are you hanging out for a minute?</b>

363

Page 32 of 47

Case 3:24-cv-00103-ART-CLB

583, —->

Olt 15:42. 01:15:43.708
<b>Yeah I'll be here.</b>

364
01:15:43.708
<b>Who's

——> 01715245 .375

365

CliilLet45.375 ==> O1915e46.875

<b>Il believe the word

366

01:15:47.166 --> 01:15:47.583
<b>Do you have a card?</b>
367

01:15:48.166 -->
<b>Yeah.</b>

01:15:48.333

368
QoL, #115 2-54 ic
<b>Right

833 5
on.</b>

369

01:15:55.125 --> 01:15:55.458
<b>Thank you brother.</b>

370

01:15:56.041 --> 01:15:56.583

<b>You guys don't have a</b>

371

01715:56.583 -—=> 01:15:57.583

Document 43-3

"nice man."</b>

<b>case number by chance do you?</b>

372
O1315¢58.125 => 01:15:58,916
<b>I don't have it yet.</b>

373

01:15:59,416 --> 01:16:00.375
<b>I think he has it.</b>

374

01:16:00.625 --> 01:16:00.833

<b>Okay.</b>

oie
01:16:01.500 --> 01:16:02.166
<b>But I'll get that.</b>

376
01:16:02.166 --> 01:16:03.250
<b>Or actually if you give me my

card back</b>

Filed 03/28/25

doing the statement and everything?</b>

Page 33 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

377
01:16:03.250 --> 01:16:04.291
<b>I'll go look on the computer</b>

378
01:16:04,291 --> 01:16:05.708
<b>real quick and get it for you.</b>

379
On! 167 36.166 -——> O1816!37.333
<b>Two, two.</b>

380
01:16:37 .500 --> 01:16:

<b>Yep.</b>

Ww
~]

708

381
01:16:38.666 --> 01:16:38.875

<b>Yep.</b>

382
01:16:39.250 --> 01:16:44.458
<b>All I have is what was on his plate.</b>

385
O1:16:45.166 ==> 01:16:46. 708
<b>Drew Rybar?</b>

384
01:16:47.583 --> 01:16:48.500
<b>Drew Rybar?</b>

385
01:16:48.583 --> 01:16:49.958
<b>That's just who the registered owner is</b>

386
01:16249.958 =<> 01:16:50. 500
<b>so I don't know if</b>

387
01 #16750,500 —-S 013165 51.041
<b>that's going to be him.</b>

388
01916251.250 ==> 01216:51.416
<b>Okay.</b>

389
O1216252.291 -—-> 012°16852.875
<b>He's got it.</b>

390

Page 34 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

01:16:52.875 --> 01:16:54.166
<b>He had his wallet on him.</b>

391
01:16:54.541 --> 01:16:57.125
<b>So we're going to figure that part out.</b>

392
01:17:30.750 --> 01:17:36.583
<b>Okay so we're going to do</b>

393
OZL3LVtS6.0838 —~—S O12 17534 «625
<b>a little truck shopping.</b>

394
O1:17237.625 --> 01217:38.708
<b>We're going to do a Monday of Trucking.</b>

395
O1:217:39.250 —-> 01217241.500
<b>Just make sure when we're riding about</b>

396
01:17:41.500 --> 01:17:43.000
<b>how many times you guys have told them.</b>

397
01:17:44.166 --> 01:17:46.000
<b>And then you know like maybe something</b>

398
01:17:46,000 --> 01:17:47.666
<b>like it's not uncommon that you guys do</b>

399
01:17:47.666 --> 01:17:48.625
<b>receive these audits.</b>

400
01:17:48.625 --> 01:17:49.333
<b>However they go</b>

401
OL317 549.333) => 011172512792

f

<b>through the official process.</b>
402

OLiLy:62.500: == & 01,717:53-2458

<b>All visitors are required.</b>

403
01:17:53.791 --> 01:17:54.666
<b>I mean you guys know</b>

Page 35 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 36 of 47

404
01:17:54.666 --> 01:17:55.708
<b>the prison more than I do.</b>

01:17:55.916 --> 01:17:58.166
<b>So if you can just clarify that in your</b>

01:17:58.166 --> 01:17:59.666
<b>statement a little bit as well as your</b>

407
01:17:59.666 --> 01:18:02.208
<b>boys as far as their contact with him.</b>

408

01:18:02.208 --> 01:18:06.083

<b>Them ignoring all their requests.</b>
409

01:18:06.750 --> 01:18:07.708
<b>Did anybody ask him ID</b>

410
01:18:07.708 --> 01:18:08.750
<b>at all on the property?</b>

41]
01:18:09.083 --> 01:18:10.708
<b>Not to my knowledge because I just asked</b>

412
01:18:10.708 --> 01:18:11.958
<b>him what he was saying and</b>

413
01:18:11.958 --> 01:18:12.125
<b>he refused to acknowledge.</b>

414
01:18:12.125 --> 01:18:15.125
<b>I didn't ask him to give me why was he</b>

415
01:18:15.125 --> 01:18:16.333
<b>what was his name or the</b>

416
01:18:16.333 --> 01:18:17.208
<b>purpose of being a cop.</b>

al)

Case 3:24-cv-00103-ART-CLB

OLI18217.208

1 --> O12
<b>So we can

418
Ol: -=3 O15

419
OLS 1BI19.625 —<> O1e
<b>He's required to

420
Qis187220.416 -—S O11
<b>least give you a

42]
01:18:21.333 --> O1:
<b>Yeah. </b>

422
01:18:21.708 --> 01
<b>Right.</b>

423
O1s18:23.083 ==> O1:
<b>And then did you

424
01:18:24.208 --> 01
<b>him for his name

425

O1ls18s25.416 ==> O1:
<b>I did

426
Ols18s26.583 ==> O1:
<b>tried to see why
427

30 ==> O1:

Document 43-3 Filed 03/28/25

18:18 .750

do failure to identify it too.</b>

18:20.416
at</b>

18:21.333
name.</b>

16:21.541

718221.875

18:24.208
guys ask</b>

:18:25.041

at all?</b>

18:26.583

not ask him for his name but I just</b>

18227.750
he was here and tried to</b>

18:29. 708

TaD
<b>direct him off the property to building</b>

428

01:18:29.708 --> 01:18:31.500

<b>17 over there right down the</b>
429

O1s18s31.500 ==> 01218932.416

<b>road to get some

430
01:18:232.750 —=%
<b>Okay.</b>

Oleg

information.</b>

1Bes2.958

Page 37 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 38 of 47

431
01:18:33.250 --> 01:18:33.833
<b>So those three?</b>

432
01:18:34.125 --> 01:18:34.333
<b>Yeah.</b>

433
01:18:34.583 --> 01:18:35.000
<b>Do you want...</b>

434
01:18:36.000 --> 01:18:37.333

<b>And then he can do the...</b>

4.35
01:18:38.250 --> 01:18:40.083
<b>Well it's not really a citizen's arrest.</b>

436
01:18:40.125 --> 01:18:41.375
<b>Because they're cops.</b>

437
01:18:41.375 --> 01:18:42.875
<b>That's kind of what I'm...</b>

438
01:18:42.875 --> 01:18:44.208
<b>Just he's the complete one.</b>

439
01:18:44,208 --> 01:18:44.416
<b>Yeah.</b>

440
01:18:46.083 --> 01:18:47.541
<b>So this is a really</b>

44]
01:18:47.541 --> 01:18:49.125
<b>routine charge that we have.</b>

442
01:18:49.125 --> 01:18:50.625
<b>It's just the state property is a little</b>

443
OlslesS0;625 =—<-> 01216752. 333
<b>bit different but just the statements are</b>

444

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25

01:18:52.333 --> 01:18:53.958
<b>going to be sufficient and you have</b>

Ol2:18253.958 -=—> 01:18:56..250
<b>obviously total authority over the</b>

446
01:18:56.250 --> 01:18:57.458
<b>property so that works for me.</b>

447
01:18:58.125 --> 01:18:58.875
<b>And then we'll go sccm bs

448
01:18:58.875 --> 01:19:00.166
<b>there and then he'll hang out.</b>

449
01:19:00.166 --> 01:19:00.958
<b>I'll get those from you and</b>

450
01:19:00.958 --> 01:19:02.000
<b>I'11l go down and book them.</b>

451
01:19:02.000 --> 01:19:02.208
<b>Yeah.</b>

G52
01:19:03. --> 01919203\.375
Aeeiaclition </b>

453
01:19:03.375 --> 01:19:03.833
<b>Thank you guys.</b>

45
01:19:04:541 --> 01:19:05.125
<b>Appreciate you.</b>

455
01:19:05.125 --> 01:19:05.708
<b>Any questions?</b>

=

719:07.125 --> 01:19:07.666

45
O1
<b>We'll go to the largest...</b>

457
01:19:14.083 --> 01:19:15.125
<b>Yeah I'm getting it right now.</b>

Page 39 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 40 of 47

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 41 of 47

= EXHIBIT C

4 ||'UNITED STATES DISTRICT COURT
s || DISTRICT OF NEVADA

DREW J. RIBAR,
8 || Plaintiff,

v.
STATE OF NEVADA ex rel. NEVADA DEPARTMENT OF CORRECTIONS; CARSON
CITY; DEPUTY JASON BUENO, in his individual and official capacity: WARDEN
FERNANDEIS FRAZIER; SGT. ROBERT SMITH; et al..

14 || Defendants.

Case No.: 3:24-cv-00103-ART-CLB

Plaintiff: Drew J. Ribar, pro se

Address: 3480 Pershing Ln., Washoe Valley, NV 89704

37 || Phone: (775) 223-7899

23 || Email: Const2Audit@gmail.com

1 || = EXHIBIT C

PLEADING TITLE - 1

to

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 42 of 47

Video Footage — Deputy Jason Bueno Body-Worn Camera
Filed in Support of Plaintiff's Amended Complaint and Motion for Summary Judgment

Under Fed. R. Civ. P. 56

SUMMARY JUDGMENT RELEVANCE

Pursuant to Fed. R. Civ. P. 56(a), this exhibit provides undisputed material evidence of

Defendants’ violations of Plaintiff's rights under:

e U.S. Constitution: Amendments I, 1V, VIII, XIV

e Nevada Constitution: Article 1, §§ 1,6, 8.9, 18

¢ Federal Law: 42 U.S.C. § 1983; 18 U.S.C. 88 241-242

¢ Nevada Statutes: NRS 171.1233, 197.200, 199.310, 200.460, 200.310, 200.481,

200.471, 207.190, 205.2715, 205.220

This exhibit complements Exhibits A and B, proving:

|. Retaliation for recording in public (Fordyce v. Seattle, 55 F.3d 436 (9th Cir. 1995):
Turner v. Driver, 848 F.3d 678 (Sth Cir. 201 7))

2, Unlawful arrest without probable cause (Manuel v. City of Joliet, 137 S. Ct. 911 (201 7);
Thompson vy. Clark, 596 U.S. 36 (2022))

3. Cruel conditions via heat exposure (Hope v. Pelzer, 536 U.S. 730 (2002); Farmer y,
Brennan, 511 U.S. 825 (1994))

4. Due process violations via property seizure (Mathews v. Eldridge, 424 U.S. 319 (1976))

PLEADING TITLE - 2

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 43 of 47

| 5. Municipal liability for policy/custom (Monell v. Dep't of Soc. Servs., 436 U.S. 658
° (1978))

4

5

6 || DESCRIPTION

7

8 ¢ Video Recording: 37 minutes, | second of body-worn camera footage from Deputy
9 Jason Bueno, recorded August 30, 2022, at Northern Nevada Correctional Center
10 (NNCC), obtained via discovery in criminal case No. 22 CR 01231 1C (dismissed by
{}

order dated [insert date if known ])

12

3 ¢ Format: Submitted on USB per Local Rule IC 2-2, with Notice of Manual Filing
14

15

I KEY LEGAL VIOLATIONS AND SUPPORTING EVIDENCE

17

8 Timestamp Incident Summary Legal Relevance

19
30 Sgt. Smith: "Notified deputies" First Amendment retaliation (Clik v. Cunniffe,
21 || 0:01:10 for "exercising his First 655 F.3d 78 (Ist Gar. 2011); Fields v. City of
22 Amendment rights." Philadelphia, 862 F.3d 353 (3d Cir. 2017))
23

Sgt. Smith: "No ‘no No probable cause (Hiibel v. Sixth Judicial Dist.
24 |} 0:01:29
trespassing’ signs up.” Ct, 542 U.S. 177 (2004); NRS 207.200)
25
2% Sgt. Smith: "This is a public — Public forum; arrest invalid (Reed v. Town of
0:01:37
27 roadway, which it is." Gilbert, 576 U.S. 155 (2015))
28
PLEADING TITLE - 3

Case 3:24-cv-00103-ART-CLB

Timestamp

0:02:03

0:03:34—

0:03:49

0:04:13

0:05:11

0:05:19-—

0:05:37

0:06:30

0:07:14

0:07:56

0:08:13

0:10:21-

0:10:28

Incident Summary

Sgt. Smith: "We want it gone."

Bueno arrives; Frazier:

"I respassing... remove him."

Document 43-3 Filed 03/28/25 Page 44 of 47

Legal Relevance

Pretextual intent: Monell custom (Whren y.

United States, 517 U.S. 806 (1996))

No warning; Fourth Amendment (Terry v. Ohio,

392 U.S. 1 (1968))

Bueno: "Put your hands behind Unlawful seizure (Manuel v. City of Joliet, supra;

your back."

Bueno: "You're being arrested

for trespassing."

AC hose redirects air: Plaintiff

in back, no seatbelt, dry shirt.

"Tow his truck."

"Definitely not take photos or

whatever."

AC hose to driver’s seat.

Frazier: "Advocacy groups.”

Window closed, cutting

airflow.

PLEADING TITLE - 4

NRS 200.460)
False arrest (Thompson v. Clark, supra)

Eighth Amendment (Hope v. Pelzer, supra:

Youngberg v. Romeo, 457 U.S. 307 (1982))

Due process violation (Mathews vy. Eldridge,

supra; NRS 205.2715)

Retaliation (Yurner v. Driver, supra; NRS

171.1233)

Deliberate indifference (Estelle v. Gamble, 429

U.S. 97 (1976))
Viewpoint discrimination (Reed v. Town of

Gilbert, supra)

Cruel conditions (Farmer v. Brennan, supra)

to

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 45 of 47

up...

PLEADING TITLE - 5

Timestamp Incident Summary Legal Relevance
0:13:12— Bueno/Frazier: Audit intent, no Retaliation (Irizarry v. Yehia, 38 F.4th 1282 (10th
0:13:23 paperwork. Cir. 2022))

Frazier: "Unauthorized Mischaracterization (Fields v. City of
0:15:43

videos." Philadelphia, supra)
0:24:55— Bueno cools himself with AC Eighth Amendment (Wilson v. Seiter, 501 U.S,
0:32:36 hose. 294 (1991))

Plaintiff exits, sweating Visual proof of distress (Youngberg v. Romeo,
0:33:34

profusely, shirt soaked. supra)

Bueno: "Got a little sweaty Admission of conditions (Farmer v. Brennan,
0:34:45

back there." supra)

Plaintiff: "Trying to hot box
0:34:5 | ighth Amendment (Hope v. Pelzer. supra)

me."
0:35:23 Plaintiff cites Irizarry vy. Yehia. Legal awareness strengthens claim

Plaintiff: "Nobody asked me to Negates obstruction (Hiibel v, Sixth Judicial Dist.
0:36:02

identify.” Ct, supra)

Bueno: "Get you all dried Acknowledgment of distress (Estelle v. Gamble,
0:37:01

supra)

Footote: All timestamps are included for completeness; bolded entries (0:33:34, 0:34:45) are
pivotal visual and verbal admissions. See Youngberg v. Romeo, 457 U.S. 307 (1982) (conditions

of confinement must not impose undue hardship).

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 46 of 47

LEGAL CLAIMS SUPPORTED

1. First Amendment Retaliation: Arrest for recording (/ordyce, Glik, Turner. Fields,
Irizarry; NRS 171.1233)

2. Fourth Amendment False Arrest: No probable cause (Manuel, Thompson, Hiibel; NRS
200.460, 200.310)

3. Eighth Amendment Cruel Conditions: Heat exposure (Hope, Farmer, Youngberg,
Estelle; NRS 200.481, 200.471)

4. Fourteenth Amendment Due Process: Truck towed (Mathews, Lugar v. Edmondson Oi]
Co., 457 U.S. 922 (1982); NRS 205.2715, 205.220)

5. State Torts: False imprisonment, coercion, malicious prosecution (/gbal v. Ashcroft, 556

U.S. 662 (2009); NRS 197.200, 207.190, 199.310)

QUALIFIED IMMUNITY ANALYSIS

Defendants’ actions violate clearly established law in the Ninth Circuit:

* Recording: Fordyce (1995), Glik (2011), Turner (2017), Fields (2017), Irizarry (2022)
e False Arrest: Hiibel (2004), Manuel (2017), Thompson (2022)

¢ Conditions: Hope (2002), Farmer (1994), Estelle (1976)

PLEADING TITLE - 6

tN

Case 3:24-cv-00103-ART-CLB Document 43-3 Filed 03/28/25 Page 47 of 47

Officers’ statements (e.g., “no signs”, “sweaty back there’) show knowledge of illegality,

defeating qualified immunity (Harlow vy. Fitzgerald, 457 U.S. 800 (1982)).

AUTHENTICATION

Under Fed. R. Evid. 901, 1002, and 28 U.S.C. § 1746, |, Drew J. Ribar, declare under penalty
of perjury that this video from Deputy Jason Bueno’s body camera, obtained via discovery

(Case No. 22 CR 01231 IC), accurately depicts events on August 30, 2022, at NNCC.

DATED: March 27, 2025

/s/ Drew J. Ribar

Drew J. Ribar, Pro Se

3480 Pershing Ln., Washoe Valley, NV 89704

(775) 223-7899 | Const2Audit@gmail.com

PLEADING TITLE - 7

